                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:15-cr-16-HSM-SKL
 v.                                                    )
                                                       )
 JESSE ASHWORTH                                        )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count One of

 the Indictment, that is of conspiracy to distribute 50 grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, a Schedule II controlled substance in violation

 of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser

 offense of the charge in Count One of the Indictment, that is of conspiracy to distribute 50 grams or

 more of a mixture and substance containing a detectable amount of methamphetamine, a Schedule

 II controlled substance in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (4) defer a

 decision on whether to accept the amended plea agreement until sentencing; and (5) find Defendant

 shall remain in custody until sentencing in this matter [Doc. 139]. Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge’s report and recommendation [Doc. 139] pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;



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       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

             Indictment, that is of conspiracy to distribute 50 grams or more of a mixture and

             substance containing a detectable amount of methamphetamine, a Schedule II

             controlled substance in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)

             is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One of the Indictment, that is of conspiracy to distribute 50 grams or more of a

             mixture and substance containing a detectable amount of methamphetamine, a

             Schedule II controlled substance in violation of 21 U.S.C. §§ 846, 841(a)(1), and

             841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on January 11, 2016 at 2:00 p.m. [EASTERN] before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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